                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


    UNITED STATES OF AMERICA                     :      CASE NO. 1:18-CR-109
                                                 :
                                                 :      JUDGE BLACK
        v.                                       :
                                                 :
                                                 :      PROTECTIVE ORDER
    ANDREY SHUKLIN et al.,                       :
                                                 :
                       Defendants.               :
                                                 :


       Pursuant to Federal Rule of Criminal Procedure 16(d)(1), and for good cause shown, the

Court hereby grants the motion of the United States for entry of a Protective Order prescribing the

manner in which the defendants and their counsel must handle certain materials to be produced by

the United States.

               IT IS on this _____ day of October, 2018,

               ORDERED,

       1.      The Government intends to produce discovery materials in this case that contain,

among other things, private financial information about numerous individuals and entities, other

private information, which may include social security numbers, addresses, dates of birth, as well

as confidential tax returns and taxpayer information within the meaning of Title 26, United States

Code, Section 6103(b). The discovery materials will also include information which is governed

by Rule 6(e) of the Federal Rules of Criminal Procedure.

       2.      The discovery materials produced by the Government may be used by the

defendants, their attorneys, and members of the defense team solely in the defense of this case and

for no other purpose and in connection with no other proceeding.
       3.      Such discovery materials and their contents, and any notes or other record of such

materials or their contents, should not be disclosed either directly or indirectly to any person or

entity other than the defendants and defendants’ counsel, persons employed to assist in the defense,

independent expert witnesses, investigators or expert advisors retained pursuant to a written

retainer agreement in connection with this action, or such other persons as to whom the Court may

authorize disclosure upon the defendants’ motion.

       4.      The discovery material produced by the Government will not be copied or

reproduced unless they are copied or reproduced for authorized persons to assist in the defense,

and in that event, the copies should be treated in the same manner as the original material.

       5.      When providing the discovery materials to an authorized person, defendants’

counsel must inform the authorized person that the materials are provided subject to the terms of

this Protective Order and that the authorized person must comply with the terms of this Protective

Order. Authorized persons shall sign the acknowledgment attached to this Order in the presence

of defense counsel, indicating that they have received and reviewed the terms of this Order and

understand that they are bound by it before being provided with, shown, or read the contents of

any materials produced pursuant to terms of this Order. See Appendix A.

       6.      Defendants’ counsel will inform the defendants of the provisions of this Protective

Order, and direct them not to disclose or use any information contained in the Government’s

discovery in violation of this Protective Order. However, nothing contained in the Protective

Order will preclude any party from applying to the Court for further relief or for modification of

any provision hereof.

       7.      Identifying victim information disclosed to defense counsel during the course of

proceedings in this action, including the victim’s financial records, shall remain in the custody of

defense counsel and shall not be copied, reproduced, or disseminated, except to independent expert

witnesses retained pursuant to a written retainer agreement in connection with this case. At the


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conclusion of this matter to include the conclusion of any post-conviction remedy, such material

shall either be returned to the Government or shredded and destroyed in a method approved by the

parties or the Court. This matter will be concluded upon expiration of the period for direct appeal

from any verdict in the above-captioned case, the period of direct appeal from any order dismissing

any of the charges in the above-captioned case, or the granting of any motion made on behalf of

the Government dismissing any charges in the above-captioned case, whichever date is latest.

       8.      Defense counsel will not attach any materials produced pursuant to this Order to

any public filings with the Court or publicly disclose any such materials or their contents in any

other manner, without prior notice to the Government. If defense counsel and the Government

cannot agree on the manner in which the materials or their contents may be publicly disclosed, the

parties shall seek resolution of such disagreements by the Court.

       9.      If any dispute should arise between the parties to this action as to whether any

documents, materials, or other information are subject to the provisions of this Order, such

documents, materials, and information shall be considered covered by this Order pending further

direction by this Court.

       10.     The provisions of this Order shall not be construed as preventing the disclosure of

any information in connection with any motion, hearing, or trial held in this action or to any district

or magistrate judge of this Court for purposes of this action, provided that the request for such

disclosure is made under seal so that reasonable efforts can be made to ensure that such disclosure

does not violate the Protective Order.

       SO ORDERED.




DATE                                                   HONORABLE TIMOTHY S. BLACK
                                                       UNITED STATES DISTRICT JUDGE




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Appendix A


                                   ACKNOWLEDGMENT

       The undersigned hereby acknowledges that he or she has read the Protective Order entered

in the United States District Court for the Southern District of Ohio in the case captioned United

States v. Andrey Shuklin, et al, Criminal No. 1:18-cr-109, understands its terms, and agrees to be

bound by each of those terms. Specifically, and without limitation, the undersigned agrees not to

use or disclose any documents or information made available to him or her other than in strict

compliance with the Order. The undersigned acknowledges that his or her duties under the Order

shall survive the termination of this case and are permanently binding, and that failure to comply

with the terms of the Order may result in the imposition of sanctions by the Court.




DATED: ___________________                          BY: _______________________________
                                                                (type or print name)



                                                    SIGNED: _________________________




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